  Case 22-15874-JNP                Doc 61 Filed 01/06/24 Entered 01/07/24 00:14:02                               Desc Imaged
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Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 22−15874−JNP
                                         Chapter: 13
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Daniel E. Yancy
   725 Central Ave.
   Franklinville, NJ 08322
Social Security No.:
   xxx−xx−9508
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 1/4/24.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: January 4, 2024
JAN: cm

                                                                     Jeanne Naughton
                                                                     Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-15874-JNP
Daniel E. Yancy                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jan 04, 2024                                               Form ID: 148                                                              Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 06, 2024:
Recip ID                   Recipient Name and Address
db                     +   Daniel E. Yancy, 725 Central Ave., Franklinville, NJ 08322-2054
519666781              +   Contental Finance Company, 4550 New Linden Hill Rd, ste 400, Wilmington, DE 19808-2952
519872899              +   Franklin Township, Gloucester County, Franklin Township Tax Collector, 1571 Delsea Drive, Franklinville, NJ 08322-2391
519679763              +   Township of Franklin, 1571 Delsea Drive, Franklinville, NJ 08322-2391

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jan 04 2024 20:48:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jan 04 2024 20:48:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
519666777              + Email/Text: bankruptcy@pepcoholdings.com
                                                                                        Jan 04 2024 20:48:00      Atlantic City Electric, PO Box 13610,
                                                                                                                  Philadelphia, PA 19101-3610
519683768              + Email/Text: bankruptcy@pepcoholdings.com
                                                                                        Jan 04 2024 20:48:00      Atlantic City Electric Company, Bankruptcy
                                                                                                                  Divison, 5 Collins Drive, Suite 2133 / Mail Stop
                                                                                                                  84CP42, Carneys Point, NJ 08069-3600
519666779                  Email/Text: BKBCNMAIL@carringtonms.com
                                                                                        Jan 04 2024 20:47:00      CARRINGTON MORTGAGE SERVICES, 2201
                                                                                                                  EAST 196TH STREET, Westfield, IN 46074
519666780              + EDI: PHINGENESIS
                                                                                        Jan 05 2024 01:31:00      CB Indigo, PO Box 4499, Beaverton, OR
                                                                                                                  97076-4499
519666778              + EDI: CAPITALONE.COM
                                                                                        Jan 05 2024 01:24:00      Capital One, PO Box 31293 Salt Lake City, Salt
                                                                                                                  Lake City, UT 84131-0293
519666782              + EDI: AMINFOFP.COM
                                                                                        Jan 05 2024 01:24:00      First Premier Bank, 3820 N. Louise Avenue, Sioux
                                                                                                                  Falls, SD 57107-0145
519666786                  EDI: IRS.COM
                                                                                        Jan 05 2024 01:24:00      Internal Revenue Service, P.O. Box 744, Special
                                                                                                                  Procedure Branch, Springfield, NJ 07081
519671055                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Jan 04 2024 20:51:58      LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                                  PO Box 10587, Greenville, SC 29603-0587
519678957                  Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Jan 04 2024 20:52:14      MERRICK BANK, Resurgent Capital Services,
                                                                                                                  PO Box 10368, Greenville, SC 29603-0368
519666787                  Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Jan 04 2024 20:52:22      Merrick Bank, PO Box 9201, Old Bethpage, NY
                                                                                                                  11804-9001
519687698              + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Jan 04 2024 20:48:00      Midland Credit Management, Inc., PO Box 2037,
                                                                                                                  Warren, MI 48090-2037
519666788              ^ MEBN
                                                                                        Jan 04 2024 20:33:06      Office Of The Attorney General, 22 Market Street,
                                                                                                                  PO Box 112, Div Of Law, Richard J Hughes
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District/off: 0312-1                                                 User: admin                                                               Page 2 of 3
Date Rcvd: Jan 04, 2024                                              Form ID: 148                                                            Total Noticed: 23
                                                                                                                Justice Com, Trenton, NJ 08625-0112
519703446              + EDI: JEFFERSONCAP.COM
                                                                                      Jan 05 2024 01:24:00      Premier Bankcard, LLC, Jefferson Capital Systems
                                                                                                                LLC Assignee, Po Box 7999, Saint Cloud MN
                                                                                                                56302-7999
519666789                 Email/Text: NJTax.BNCnoticeonly@treas.nj.gov
                                                                                      Jan 04 2024 20:47:00      State Of New Jersey, P.O. Box 245, Dept Of
                                                                                                                Treasury-Division Of Taxation, Trenton, NJ
                                                                                                                08695-0245
519716853              + Email/Text: BKBCNMAIL@carringtonms.com
                                                                                      Jan 04 2024 20:47:00      The Bank of New York Mellon, at. el, c/o
                                                                                                                Carrington Mortgage Services, LLC, 1600 South
                                                                                                                Douglass Road, Anaheim, CA 92806-5948
519666790                 Email/Text: collectionservices@trojanonline.com
                                                                                      Jan 04 2024 20:48:00      Trojan Professional Ser, P.O. Box 1270, Re:
                                                                                                                Capemay Family Dental, Los Alamitos, CA
                                                                                                                90720-1270
519666791                 EDI: WFFC2
                                                                                      Jan 05 2024 01:24:00      Wells Fargo Card Service, PO Box 14517, Des
                                                                                                                Moines, IA 50306-3517

TOTAL: 19


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason   Name and Address
519666783          *+              Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
519666784          *+              Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
519666785          *               Internal Revenue Service, Po Box 725 Special Procedures Fuction, Springfield, NJ 07081

TOTAL: 0 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 06, 2024                                          Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 4, 2024 at the address(es) listed
below:
Name                               Email Address
Andrew B Finberg
                                   ecfmail@standingtrustee.com

Denise E. Carlon
                                   on behalf of Creditor THE BANK OF NEW YORK MELLON F/K/A The Bank of New York as trustee for registered Holders of
                                   CWABS, Inc., Asset-Backed Certificates, Series 2006-23 dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com

Heather Lynn Anderson
                                   on behalf of Creditor State Of New Jersey Division Of Taxation heather.anderson@law.dol.lps.state.nj.us

Isabel C. Balboa
                                   on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com summarymail@standingtrustee.com

Jennifer R. Gorchow
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Date Rcvd: Jan 04, 2024                                    Form ID: 148                                                   Total Noticed: 23
                          on behalf of Trustee Isabel C. Balboa jgorchow@standingtrustee.com

Seymour Wasserstrum
                          on behalf of Debtor Daniel E. Yancy mylawyer7@aol.com ecf@seymourlaw.net;r47769@notify.bestcase.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
